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  22-1291-cv
       United States Court of Appeals
                                  for the

                       Second Circuit

    UNITED STATES SECURITIES AND EXCHANGE COMMISSION,


                                                             Plaintiff-Appellee,


                                  – v. –


                               ELON MUSK,


                                                          Defendant-Appellant.

                    ––––––––––––––––––––––––––––––
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK

       REPLY BRIEF FOR DEFENDANT-APPELLANT



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                         PRELIMINARY STATEMENT

      While the SEC criticizes Appellant Elon Musk’s First Amendment-based

arguments as “hyperbole,” the SEC apparently agrees that the pre-approval

provision is an unconstitutional prior restraint. Nowhere does it argue otherwise.

Instead, telegraphing its lack of concern for the constitutional rights of defendants,

the SEC contends that this Court need not address the constitutional infirmities in

the judgment and amended judgment, either because Mr. Musk waived such rights

or because the unconstitutional conditions doctrine does not apply. Such arguments

come as no surprise given the SEC’s long history of mandating constitutionally

suspect concessions in settlements, but they are unpersuasive and this Court should

reject them.

      As to the unconstitutionality of the pre-approval provision, the SEC suggests

that Mr. Musk waived his arguments challenging the constitutional defects of the

pre-approval provision. Yet the SEC ignores black-letter law that, to be valid, a

waiver of constitutional rights must be knowing and voluntary—an impossibility in

the context of the waiver of future and unknowable rights. But even if knowing and

voluntary, the SEC fails to rebut Mr. Musk’s showing that the waiver is

unenforceable. As a district court in this Circuit recently explained in assessing the

SEC’s repeated insistence that settlements be conditioned on the waiver of First

Amendment rights, “the fact that defendants may waive their First Amendment



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rights does not mean that the government should be in the business of demanding

that they do so” because doing so is “at least in tension with the unconstitutional

conditions doctrine.” SEC v. Moraes, No. 22-CV-8343 (RA), 2022 WL 15774011,

at *3–4 (S.D.N.Y. Oct. 28, 2022). While the SEC argues that it is entitled to

condition a settlement offer on a defendant waiving the future invocation of

constitutional rights, it ignores that the intent of the doctrine is to “‘vindicate[] the

Constitution’s enumerated rights by preventing the government’ from wielding its

authority to manipulate incentives to ‘coerc[e] people into giving them up.’” Id. at

*3 (quoting Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013)).

The application of the doctrine here dictates that the pre-approval provision—

extracted as a condition of settling the initial SEC action and then the contempt

motion—should be excised from the consent decree. Indeed, because the SEC does

not dispute that the pre-approval provision constitutes a prior restraint that fails to

satisfy strict scrutiny, the SEC cannot combat the heavy presumption against the

validity of the provision, which provides an independent justification for

modification of the consent decree as against public policy.

      Separately, while the SEC devotes substantial space to rebutting the presence

of changed circumstances warranting modification of the judgment, the SEC

neglects to address the full scope of its efforts to wield the consent decree to harass

Mr. Musk—starting with its effort to hold Mr. Musk in contempt and continuing to


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this day. The SEC asserts that its goal in imposing the pre-approval provision was

to prevent after-the-fact investigative and enforcement action as to Mr. Musk’s

statements, yet it has nonetheless engaged in relentless investigations. The SEC’s

arguments thus underscore that its extensive investigative action was not anticipated,

supporting Mr. Musk’s argument that these changed circumstances warrant

modification. For this same reason, the SEC fails to rebut that the purpose of the

pre-approval provision has been achieved. And the SEC has no answer as to how

requiring a court to enforce a violation of constitutional rights can possibly serve the

public interest.

      The Court should strike the pre-approval provision from the judgment and

amended judgment and, in doing so, provide a meaningful reminder to the SEC that

it must respect constitutional rights.

                                    ARGUMENT
I.    THE SEC FAILS TO REBUT THE UNCONSTITUTIONALITY AND
      UNENFORCEABILITY OF THE PRE-APPROVAL PROVISION
      Because the SEC nowhere contests that the pre-approval provision violates

the First Amendment or that courts lack the power to enforce settlements that violate

the Constitution, this Court need only address whether Mr. Musk knowingly and

voluntarily waived his First Amendment rights and, if so, whether any waiver is

enforceable. As to waiver, the SEC has failed to carry its burden to show a knowing

and voluntary waiver or that Mr. Musk forfeited any ability to raise this argument.


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      As to enforceability, the SEC’s arguments that this Court should decline to

apply the unconstitutional conditions doctrine to SEC settlements at all or apply only

a watered-down version of it should be rejected. The doctrine serves as a necessary

check on the SEC’s power and the prior restraint here constitutes an unconstitutional

condition of settlement.    Independently, the pre-approval provision cannot be

enforced because the court should not be in the position of monitoring speech—as

the pre-approval provision requires here.

      A.     The SEC Does Not Dispute The Pre-Approval Provision
             Constitutes An Illegal Prior Restraint
      The SEC does not dispute that, as Mr. Musk demonstrated (at 20–29), the pre-

approval provision is an improper content-based restriction on speech.

      Because the pre-approval provision “target[s] speech based on its

communicative content,” it is “presumptively unconstitutional and may be justified

only if the government proves that they are narrowly tailored to serve compelling

state interests.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). Mr. Musk’s

written communications relating to Tesla are protected First Amendment speech.

A274; Opp. 47. The SEC admits that the pre-approval provision has “no bearing on

communications about non-Tesla matters,” Opp. 2, 11, 14, reinforcing the

provision’s content-based nature.     The Commission does not contest that this

standard applies or make any effort to show narrow tailoring or a compelling

government interest.


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      Likewise, the SEC does not contest that the pre-approval provision constitutes

a prior restraint on Mr. Musk’s speech, “the most serious and the least tolerable

infringement on First Amendment Rights.” Nebraska Press Ass’n v. Stuart, 427

U.S. 539, 559 (1976). Instead, the SEC argues only (at 34) that Mr. Musk waived

such rights or failed to contest that such waiver was invalid. The SEC claims (at 35–

36) based on factual (but not legal) distinctions that there is “no legitimate

comparison” between Mr. Musk’s consent decree and the court-issued orders barring

speech in Metropolitan Opera Association, Inc. v. Local 100, Hotel Employees &

Rest. Employees Int’l Union, 239 F.3d 172 (2d. Cir. 2001), Nebraska Press

Association v. Stuart, 427 U.S. 539 (1976), or United States v. Quattrone, 402 F.3d

304 (2d Cir. 2005). But whether or not these cases concerned consent decrees, the

pertinent fact is the same: they concerned government orders that must “be obeyed

until modified or dissolved, and [their] unconstitutionality is no defense to

disobedience.” Metro. Opera, 239 F.3d at 176. As this Court in Metropolitan Opera

explained, because the injunction there threatened contempt sanctions for speech

that ultimately may have been found to be constitutionally protected, the restraint

could “freeze” the party’s protected speech. Id.; see also Neb. Press Ass’n, 427 U.S.

at 559 (a prior restraint “‘freezes’ speech, at least for the time”); Quattrone, 402 F.3d

at 310 (“A prior restraint is not constitutionally inoffensive merely because it is

temporary.”). This is the same threat the pre-approval provision embodies, which,


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as the SEC concedes (at 46–47) serves to “pause” Mr. Musk before he publishes any

information about Tesla.

      The SEC discounts (at 20) Mr. Musk’s legitimate concerns about government-

mandated monitoring and chilling of speech as “hyperbole,” but does not answer to

the fact that the consent decree mandates pre-approval of Mr. Musk’s speech, a clear

and impermissible prior restraint.1 While the SEC repeats its observation (at 2, 20,

27, 36, 47) that the pre-approval provision tasks a Tesla employee with pre-

approving Mr. Musk’s tweet, the SEC cannot dispute that the provision, part of an

SEC-mandated and court-enforced consent decree, constitutes state action, as

Mr. Musk demonstrated. Br. 20, 22–25. This Court has specifically determined that

court-appointed lay persons can engage in state action when the individuals, even

those who are in other contexts not state actors, were carrying out certain duties

pursuant to a consent decree. See, e.g., United States v. IBT, 3 F.3d 634, 639 (2d

Cir. 1993) (through the consent decree, “[t]he district court endowed the

[individuals] with ‘powers or functions governmental in nature’”). In this same vein,




1
   Here, the Commission defends its attempt to punish Mr. Musk for criticizing the
SEC in the 60 Minutes interview by saying it “raised questions” about his
“diligen[ce].” Opp. 29. But this defense only highlights the concern that the SEC
does not like it when Mr. Musk uses his speech against the agency and is willing to
use its prosecutorial power against him when he does, just as in Metropolitan Opera,
in which this Court expressed concerns that the prior restraint would inhibit
legitimate criticism of the Metropolitan Opera. 239 F.3d at 176.

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private actors’ conduct constitutes state action when carried out under the threat of

prosecution by the government. See Carlin Comms., Inc. v. Mountain States Tel.

and Tel. Co., 827 F.2d 1291, 1295 (1987) (threat to prosecute caused “the state [to]

so involve[] itself that it could not claim the conduct had actually occurred as a result

of private choice” and “converted [] otherwise private conduct into state action”).2

      Since Mr. Musk filed his opening brief, a district court in this Circuit has

weighed in on this issue and concluded that the SEC’s gag order provisions—

requirements with a far narrower scope than the pre-approval provision at issue

here—have “all the hallmarks of a prior restraint on speech,” Moraes, 2022 WL

15774011, at *4. See also SEC v. Novinger, 40 F.4th 297, 308 (5th Cir. 2022) (Jones,

J., concurring) (“[a] more effective prior restraint is hard to imagine”). The SEC has

not made—and thus waived—any argument that the pre-approval provision here

does not constitute an unconstitutional prior restraint.



2
 For this reason, the SEC’s argument (at 36) that there is “no legitimate comparison”
between the pre-approval provision and “situations where officials play a role in
approving speech” fails. Any argument that Tesla attorneys have an independent
obligation to monitor Mr. Musk’s speech about the company does not negate the fact
that, in this context, their specific conduct pursuant to the pre-approval provision is
state action. See Peterson v. City of Greenville, 373 U.S. 244, 248 (1963) (state
action existed even when evidence indicated a private actor “would have acted as he
did independently” of the government regulation that required him to act). And the
state action is even more pronounced here than in SEC v. Romeril, 15 F.4th 166 (2d
Cir. 2021), because a violation of an SEC gag order only allows the SEC to move to
withdraw the settlement and proceed against the defendant, whereas a violation of
the pre-approval provision at issue here is punishable by contempt.

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      B.     The SEC Does Not Explain How Mr. Musk Could Have Validly
             Waived Indeterminate Future Rights
      The SEC’s overly simplistic argument that, because Mr. Musk agreed to the

consent decree, he knowingly and voluntarily waived his First Amendment rights

fails to account for the fact that waivers of constitutional rights are disfavored, that

such waivers must be assessed on a case-by-case basis, and that the waiver of

indeterminate future rights cannot be made “knowingly.”

      First, the SEC is wrong to suggest (at 34) that acquiescence to the consent

decree establishes a valid waiver of constitutional rights. To the contrary, where

constitutional rights are concerned, courts have long-recognized that they “indulge

every reasonable presumption against [a defendant’s] waiver.” Johnson v. Zerbst,

304 U.S. 458, 464 (1938) (internal quotation marks omitted); see also Ohio Bell Tel.

v. Public Utilities Comm’n, 301 U.S. 292, 307 (1937) (“[W]e do not presume

acquiescence in the loss of fundamental rights.”); Aetna Ins. Co. v. Kennedy, 301

U.S. 389, 393 (1937) (“[C]ourts indulge every reasonable presumption against

waiver [of fundamental rights].”). No per se rule applies, as the Supreme Court

explained in Town of Newton v. Rumery, 480 U.S. 386 (1987), reasoning that, “in

some cases these agreements may infringe important interests of the [] defendant

and of society as a whole.” Id. at 392 (emphasis added). While the Supreme Court

determined Rumery had waived his statutory right to file a Section 1983 lawsuit in

settling a criminal suit, the court made clear that waivers must be analyzed on a case-


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by-case basis. Id. That parties may, under certain narrow circumstances, waive

constitutional rights, says nothing about whether Mr. Musk knowingly and

voluntarily did so in this instance. Rumery provides at most, a floor to the analysis

of the waiver of statutory rights. Indeed, other statutory rights are not subject to

waiver. See 14 Penn Plaza LLC v. Pyett, 556 U.S. 247, 265 (2009) (“[F]ederal

antidiscrimination rights may not be prospectively waived.”); Am. Express Co. v.

Italian Colors Rest., 570 U.S. 228, 235 (2013) (an arbitration agreement that waives

a party’s “right to pursue [federal] statutory remedies” is unenforceable).

Acquiescence to the consent decree does not establish waiver.3

      Second, the SEC bears the burden of establishing Mr. Musk’s knowing and

voluntary waiver and has failed to meet that bar. See Brewer v. Williams, 430 U.S.

387, 404 (1977) (“[I]t [is] incumbent upon the State to prove ‘an intentional

relinquishment or abandonment of a known right or privilege.’”) (quoting Johnson,

304 U.S. at 464, and collecting cases). As Mr. Musk demonstrated (at 31–34), he

did not knowingly and voluntarily waive his future rights to speak freely about Tesla.

Other than pointing to the fact that Mr. Musk signed the consent decree, the SEC



3
   Indeed, because this case concerns constitutional—instead of statutory rights—
the SEC’s bar for establishing waiver is even higher. See Davies v. Grossmont
Union High Sch. Dist., 930 F.2d 1390, 1397 (9th Cir. 1991) (“[B]ecause
constitutional rights are generally more fundamental than statutory rights, a stricter
rule than the one embodied by the Rumery balancing test may be appropriate in cases
[involving constitutional rights].”).

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asserts only (at 42) that Mr. Musk’s lack of counsel “reinforces the knowing and

voluntary nature of his waiver.” But absent from the SEC’s argument is any

explanation or legal support for how Mr. Musk—a non-attorney—could assess the

scope of the constitutional rights at issue. Instead, the SEC has it backwards: it is

the existence of counsel—not the absence of counsel—that weighs in favor of

finding of knowing and voluntary release. See Charlery v. City of New York Dep’t

of Educ., 737 F. App’x 54, 54–55 (2d Cir. 2018). The SEC’s reference (at 42) to the

fact that Tesla had counsel, gives no insight into Mr. Musk’s ability to knowingly

waive his rights and “[p]resuming waiver from a silent record is impermissible.”

Carnley v. Cochran, 369 U.S. 506, 516 (1962); Dickey v. Fla., 398 U.S. 30, 49

(1970) (Brennan, J., concurring) (“[T]he equation of silence or inaction, with waiver

is a fiction that has been categorically rejected by this Court when other fundamental

rights are at stake.”).

       While the SEC argues (at 39–40) that “Musk has not pointed to any term of

the pre-approval provision that he claims he did not understand,” Mr. Musk

explained (at 31, 34) that he could not know the scope of future speech restrained by

the pre-approval provision. That distinguishes the circumstances here from the cases

on which the SEC relies (at 38–41), which involved a specific set of facts already

defined. See, e.g., Romeril, 15 F.4th at 170 (addressing no-admit, no-deny provision

specific to underlying allegations).


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      Nor does the SEC’s reliance on Davies, 930 F.2d at 1395, to argue “it is

possible to knowingly waive a general right without contemplating the specific

circumstances under which that waiver will be enforced,” Opp. 40 (emphasis

added), dictate the result here. In that case, the consent judgment provided the

defendant would “never seek or accept any office . . . with the [defendant school

district] in any capacity,” which the court determined sufficient to define to the scope

of the waiver. Id. at 1394–95.4

      Finally, while the SEC argues (at 39) that Mr. Musk forfeited the ability to

challenge his waiver as not knowing or voluntary, the SEC disregards that the district

court actually addressed Mr. Musk’s waiver, A275, and determined that Mr. Musk

had knowingly and willingly entered the consent decree, A278–79. Mr. Musk

specifically addressed the circumstances surrounding the consent decree, the

pressure to sign it, the inequitable nature of the consent decree below, and the fact

that the pre-approval provision covers a “broad swath of speech subject to pre-

approval.” Musk Reply in Further Support of Mot. to Quash & to Terminate Consent

Decree (“Musk Reply”), SEC v. Musk, 1:18-cv-8865-LJL (S.D.N.Y.), ECF 80 at 8.




4
    In re George F. Nord Bldg. Corp., 129 F.2d 173, 176 (7th Cir. 1942), on which
the SEC relies (at 38) despite it predating Rumery, further confirms this point. The
Seventh Circuit read the consent restriction narrowly, such that it only “referred to
communications relating to the reorganization [at issue in the proceeding], not to
irrelevant communications,” and called a broader interpretation “ridiculous.” Id.

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In any event, neither of the cases on which the SEC relies (at 39) for its waiver

argument indicates the presence of any such forfeiture.         See United States v.

Brennan, 650 F.3d 65, 137 (2d Cir. 2011) (forfeiture of argument not made in

opening appellate brief); United States v. Jackson, 301 F.3d 59, 65 (2d Cir. 2002)

(harmlessness of erroneously admitted evidence). The SEC has not contended that

there are any facts it would have adduced in the district court had Mr. Musk’s

arguments been framed differently because the SEC’s argument is that signing the

consent decree itself sufficient to establish waiver. And, even if not raised below,

this Court has the discretion to consider this argument because the waiver doctrine

is entirely prudential. See Allianz Insurance Co. v. Lerner, 416 F.3d 109, 114 (2d

Cir. 2005) (court may exercise its discretion “where necessary to avoid a manifest

injustice or where the argument presents a question of law and there is no need for

additional fact-finding”). In light of the important constitutional issues at stake and

the lack of factual dispute, this Court should consider Mr. Musk’s argument that his

waiver was not knowing and voluntary.

      C.     Even If Mr. Musk Waived His Rights, That Waiver Is
             Unenforceable

      Independent of whether Mr. Musk’s waiver was knowing and voluntary, the

unconstitutional conditions doctrine and the public interest prohibit its enforcement.

The SEC fails to refute Mr. Musk’s showing that the unconstitutional conditions

doctrine and public policy bar enforcement of the pre-approval provision.


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             1.    The Pre-Approval Provision Runs                Afoul    Of    The
                   Unconstitutional Conditions Doctrine
      Unable to refute Mr. Musk’s showing (at 35–38) that the pre-approval

provision violates the unconstitutional conditions doctrine, the SEC seeks to evade

its constitutional obligations by arguing that the contours of the doctrine do not

apply. Not so.

      First, the SEC errs in arguing (at 50–51) that an agreement to settle is not a

government benefit. Such an argument contradicts the large body of law holding

that an agreement to settle can be a government benefit. See, e.g., Davies, 930 F.2d

at 1399 (requiring “a close nexus—a tight fit” between the government’s interest

and the right waived when the government “require[s] a citizen to surrender a

constitutional right as part of a settlement or other contract”); Overbey v. Mayor of

Balt., 930 F.3d 215, 219, 222 (4th Cir. 2019) (invalidating waiver of First

Amendment rights demanded by the city as a condition of settling a police brutality

action); Emmert Indus. Corp. v. City of Milwaukie, Or., 307 F. App’x 65, 67 (9th

Cir. 2009) (unconstitutional conditions analysis of litigation waiver); R.S.W.W., Inc.

v. City of Keego Harbor, 397 F.3d 427, 434 (6th Cir. 2005) (“Under

the unconstitutional conditions doctrine, a state actor cannot constitutionally

condition the receipt of a benefit . . . on an agreement to refrain from exercising

one’s constitutional rights”) (internal quotation marks omitted); Stephens v. County

of Albemarle, No. 3:04CV00081, 2005 WL 3533428 (W.D.Va. Dec. 22, 2005)


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(unconstitutional conditions doctrine must apply to settlement agreements because

to hold otherwise “would vitiate the unconstitutional conditions doctrine”); Lil’ Man

In The Boat, Inc. v. City & Cty. of San Francisco, No. 17-CV-00904-JST, 2017 WL

3129913 at *9–10 (N.D. Cal. July 24, 2017) (applying unconstitutional conditions

argument to waiver as a part of a contract to use government property); Louisiana

Pac. Corp. v. Beazer Materials & Servs., 842 F. Supp. 1243, 1254 (E.D. Cal. 1994)

(“[T]he doctrine of unconstitutional conditions operates in a settlement context as a

limitation upon the government’s power to exact a waiver of constitutional rights.”).

Indeed, as a district court in this Circuit noted recently in SEC v. Moraes, a “growing

chorus of circuits have concluded that the Constitution prevents courts from

enforcing the waiver of First Amendment rights as a condition of settlements.” 2022

WL 15774011, at *4 (collecting cases).

      In fact, the SEC contradicts its own argument in this regard. The SEC

maintains (at 50) that the settlement did confer a benefit of Mr. Musk. In arguing

that government settlements do not benefit the defendant, the SEC relies on SEC v.

Citigroup Global Mkts., Inc. (Citigroup II), 752 F.3d 285 (2d Cir. 2014). But that

case acknowledges that both “parties” to an SEC consent decree benefit from it. Id.

at 295. That the SEC “settled to benefit the public while minimizing risk and

allocating finite resources,” Opp. 51 (citing Citigroup II, 752 F.3d at 295–96), does

not answer the question of whether an offer of settlement also provides a benefit to


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the counterparty. Indeed, it plainly does, as the SEC confirms in citing to the list of

benefits it asserts Mr. Musk received. Opp. 50 (citing, inter alia, avoiding the “risk

of adverse outcome at trial” because the SEC agrees to no longer pursue the case and

the time and expense of trial).

      Second, the SEC is wrong to suggest that the “nexus” requirement is only

required in unconstitutional conditions cases concerning property rights.          See

Davies, 930 F.2d at 1399 (requiring “a close nexus—a tight fit—between the specific

interest the government seeks to advance in the dispute underlying the litigation

involved and the specific right waived” “as part of a settlement or other contract”);

see also Lebron v. Sec’y of Fla. Dep’t of Child. & Fams., 772 F.3d 1352, 1365 (11th

Cir. 2014) (requiring nexus and rough proportionality for unconstitutional

conditions analysis of suspicionless searches required for government benefits).

Beyond that, the SEC’s assertion that the “[a]pplication of that rubric makes little

sense” because “parties can waive their First Amendment rights in consent decrees,”

(at 52, quoting Romeril, 15 F.4th at 172), ignores that the nexus inquiry does not

foreclose every condition implicating constitutional rights, but simply requires a

close nexus to the benefit received. Br. 35. Neither Rumery nor Romeril support the

idea that the nexus inquiry has no application here; in Rumery, criminal charges

against Rumery and Rumery’s civil suit against the prosecutor involved the same




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incident, 480 U.S. at 390–91, 394, and in Romeril the gag rule concerned only the

underlying conduct, 15 F.4th at 173.

      The SEC addresses the application of the nexus inquiry to the pre-approval

provision only in a footnote (at 52 n.8), and thus forfeits any argument that the pre-

approval provision satisfies this requirement. United States v. Restrepo, 986 F.2d

1462, 1463 (2d Cir. 1993) (“We do not consider an argument mentioned only in a

footnote to be adequately raised or preserved for appellate review.”). In any event,

it does not. The pre-approval provision restrains truthful, accurate, and immaterial

speech that would never fall within the SEC’s purview because it does not implicate

the securities laws.

      Here, the pre-approval provision waiver is not “tied to the tweets that

prompted Commission action,” Opp. 38, but instead encompasses broad swaths of

information about Tesla, which clearly have no nexus to the circumstances

underlying this litigation. If the argument that “he discussed X topic once, he might

say something on Y topic in the future,” see Opp. 52 n. 8, were sufficient to establish

a nexus, the unconstitutional conditions doctrine would cease to protect First

Amendment rights.




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              2.    The Public Interest Does Not Support The Violation Of
                    Mr. Musk’s Constitutional Rights
      The SEC offers little in response to Mr. Musk’s argument that the pre-

approval provisions is so plainly contrary to the public interest that it should be

stricken.

      First, the SEC nowhere addresses the fact that it is never in the public interest

for the government to violate a citizen’s constitutional rights. New York Progress &

Prot. PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013); Sajous v. Decker, No. 18-

CV-2447 (AJN), 2018 WL 2357266, at *13 (S.D.N.Y. May 23, 2018) (“The public

interest is best served by ensuring the constitutional rights of persons within the

United States are upheld.”). Instead, the SEC argues (at 47–48) that Mr. Musk is

objecting to Tesla’s executive communications policy.          But the SEC’s entire

argument in favor of the pre-approval provision is that Mr. Musk’s compliance with

Tesla’s communications policy must be subject to SEC and judicial oversight. The

unconstitutional prior restraint of Mr. Musk’s speech, subject to enforcement by the

SEC with the full force of the district court’s contempt powers, is what Mr. Musk

argues violates public policy.5



5
   The SEC is wrong to assert (at 48) that the prior restraint here does not prevent
meaningful discourse. As Mr. Musk explained (at 22–23), the pre-approval
provision both forces Mr. Musk to permanently relinquish his First Amendment right
to speak freely on a range of topics without prior approval and therefore imposes an
impermissible chilling effect by threatening Mr. Musk’s speech with sanctions.

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      Second, the SEC also suggests—with no evidence—that the consent decree is

presently in the interest of Tesla’s shareholders.6 If this were true, then it would fall

to Tesla’s Board of Directors to make this determination.7             Regardless, the

appropriate question is what is in the public interest, not the interest of Tesla

shareholders. The Constitution protects the rights of all Americans, not just those

who can afford to invest in the stock market.

      Third, it is insufficient for the SEC to counter Mr. Musk’s constitutional

interests with a general assertion of a public interest in enforcement of securities

laws because the SEC maintains its ability to pursue enforcement actions regardless

of the pre-approval provision. Indeed, the public’s access to information “provides

an important vehicle for vindicating significant rights—and for keeping prosecutors

honest.” Price v. U.S. Dep’t of Just. Att’y Off., 865 F.3d 676, 682 (D.C. Cir. 2017)

(FOIA waivers do not support legitimate prosecutorial interests).

      Fourth, while acknowledging Rumery requires balancing, the SEC restates the

importance of enforcing consent judgments while ignoring that “[a] court has a


6
   The SEC cites to a purported “large number of shareholder suits,” Opp. 47, but
those suits are a byproduct of the SEC’s action and so cannot provide justification
for it. In any event, the SEC does not explain why those suits render an
unconstitutional prior restraint in the public interest. If anything, they show the
additional deterrent to speech that violates the securities laws.
7
  That other companies may have a social media policy or a disclosure committee,
Opp. 48, says nothing about whether the SEC may require Mr. Musk abide by the
particular—and seemingly unique—procedures it has imposed on Tesla.

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strong interest in not involving itself, along with the prestige of the law, in an

ongoing equitable decree which is either manifestly unworkable or plainly

unconstitutional.” Little Rock Sch. Dist. v. Pulaski County Special Sch. Dist. No. 1,

921 F.2d 1371, 1383 (8th Cir. 1990); see also United States v. City of Miami, 664

F.2d 435, 441 (5th Cir. 1981) (Rubin, J., concurring) (courts must ascertain that a

consent decree “does not put the court’s sanction on and power behind a decree that

violates Constitution, statute, or jurisprudence”). This is so independent of whether

a party consents to an agreement. See United States v. Josefik, 753 F.2d 585, 588

(7th Cir. 1985) (parties may not “stipulate[] to trial by 12 orangutans . . . because

some minimum of civilized procedure is required by community feeling regardless

of what the defendant wants or is willing to accept.”) (emphasis added).

      Ultimately, “public policy circumscribes agreements between private parties

in order to prevent the courts from becoming ‘vehicles of discrimination.’” Stamford

Bd. of Educ. v. Stamford Educ. Ass'n, 697 F.2d 70, 73 (2d Cir. 1982) (citing Hurd v.

Hodge, 334 U.S. 24, 34–35 (1948) and quoting Lee v. Habib, 424 F.2d 891, 902

(D.C. Cir. 1970)). Whether Mr. Musk and the SEC at one time agreed to the pre-

approval provision or not, this Court has a duty to ensure their agreement accords

with the public interest—an interest that favors upholding constitutional rights.




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             3.     Mr. Musk Did Not Waive This Argument Below And His
                    Claim Is Ripe
      Finally, in an effort to preclude this Court from addressing the serious

constitutional defect of the consent decree, the SEC argues (at 43–45) both that

Mr. Musk waived any argument as to unenforceability and that such argument is not

ripe. Neither is correct.

      As to waiver, Mr. Musk specifically argued below that courts lack the power

to enforce agreements such as the pre-approval provision for the very reasons he

now raises on appeal. To support this argument, Mr. Musk relied on Crosby v.

Bradstreet Co., 312 F.2d 483 (2d Cir. 1963), in which this Court vacated a consent

decree because courts do not have power to enforce settlements that violate the First

Amendment. Musk Reply, ECF 80 at 9 (citing support that “the First Amendment

is a critical constitutional limitation” on the judicial power). Mr. Musk encouraged

the district court not to follow Romeril,8 and explained that the pre-approval

provision here constitutes an even more substantial constitutional violation than the

gag rule. Mr. Musk also argued that the pre-approval provision is contrary to the

public interest. Musk Mem. of Law in Support of Mot. to Quash & to Terminate




8
  Mr. Musk also cited to the then-pending petition for certiorari in Romeril, referring
the district court to the cases it described “holding courts lack power to enforce prior
restraints and content and viewpoint-based speech restrictions as settlement
conditions, even when entered with consent.” Musk Reply, ECF 80 at 8.

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Consent Decree (“Musk Mem.”), SEC v. Musk, 1:18-cv-8865-LJL (S.D.N.Y.), ECF

71 at 22 n.5. This argument is not waived.

      As to ripeness, the SEC insinuates (at 43–45) Mr. Musk’s claim is

insufficiently developed since the SEC has not yet filed an enforcement action. But

the SEC falls short of actually arguing that Mr. Musk lacks standing to seek

modification or termination of the consent decree at this juncture. Such an argument

would be unavailing.     Whether or not the SEC files another action in court,

Mr. Musk’s rights are being violated every minute the decree persists. Courts have

made clear that, “[a] plaintiff need not first expose himself to liability before

bringing suit to challenge . . . the constitutionality of a law threatened to be

enforced.” Picard v. Magliano, 42 F.4th 89, 97–98 (2d Cir. 2022) (quoting Knife

Rights, Inc. v. Vance, 802 F.3d 377, 384 (2d Cir. 2015), and noting “past

enforcement against the same conduct is good evidence that the threat of

enforcement is not chimerical”). This is particularly true in the First Amendment

context, where complainants must show only “an actual and well-founded fear” of

injury. Vt. Right to Life Comm. v. Sorrell, 221 F.3d 376, 382 (2d Cir. 2000).

      Government investigations can levy chill sufficient to establish a First

Amendment violation prior to the filing of an enforcement action. White v. Lee, 227

F.3d 1214, 1228 (9th Cir. 2000); Zieper v. Metzinger, 474 F.3d 60, 65–66 (2d Cir.

2007) (“[T]he First Amendment prohibits government officials from encouraging


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the suppression of speech in a manner which can reasonably be interpreted as

intimating that some form of punishment or adverse regulatory action will follow

the failure to accede to the official’s request.”); Aebisher v. Ryan, 622 F.2d 651, 655

(2d Cir. 1980) (“The exercise of First Amendment freedoms may be deterred almost

as potently by the threat of sanctions as by their actual application.”). That is exactly

the effect of the pre-approval provision here. As a result, this Could should not only

address the unenforceability of the pre-approval provision, but it should also hold it

unenforceable.

II.   THE SEC FAILS TO DISPEL THE CHANGED CIRCUMSTANCES IT
      HAS CAUSED AND THAT EQUITABLE RELIEF IS WARRANTED

      As Mr. Musk argued, the pre-approval provision should be excised from the

consent decree pursuant to Federal Rule of Civil Procedure 60(b)(5). The SEC’s

quibbles about whether it has pursued investigations because of the consent decree

or its general investigative authority only serve to confirm both the extent of the

SEC’s attention on Mr. Musk and that no purpose is served by maintaining the pre-

approval provision, underscoring why the continued infringement of Mr. Musk’s

constitutional rights does not serve the public interest.




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      A.     The SEC’s Contradictory Arguments Do Not Undermine
             Mr. Musk’s Showing Of Changed Circumstances

      The SEC’s quibbling over the extent of its investigations into Mr. Musk does

little to rebut Mr. Musk’s showing (at 45–52) that changed circumstances that have

exacerbated the constitutional defect warrant modification.

      At the threshold, the SEC’s position that “[s]ettlements are not a get-out-of-

future-inquiries card,” Opp. 23, confirms the changed circumstances here. The SEC

has represented—here and below—that the intent of the pre-approval provision was

“to have an ex ante process for the review of potentially market-moving information

before it moves the market.” Opp. 32. The SEC cannot argue that Mr. Musk should

have anticipated the SEC would use the consent decree for additional scrutiny ex

post while at the same time arguing that the “key purpose” was to avoid such after-

the-fact investigations.

      Beyond that, any dispute over the extent of the SEC’s investigations, see Opp.

20, underscores that the SEC has evaded judicial scrutiny of the consent decree.

The SEC argues (at 20) that Mr. Musk may seek relief from the prior restraint only

when it seeks to enforce the consent decree. But the SEC says nothing about if or

when it may do so, instead opting for a never-ending investigative campaign that

violates Mr. Musk’s freedom of speech through “the chilling effect of governmental

action.” Zieper, 474 F.3d at 65–66. In the past three years, the SEC has at all times

kept at least one investigation open regarding Mr. Musk or Tesla. Musk Mem., ECF


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71 at 17–18. But the SEC ignores that its actions—in seeking contempt and in

maintaining a steady stream of investigations—threatens to chill Mr. Musk’s speech.

As Mr. Musk explained, the SEC’s actions aim to dissuade Mr. Musk from speaking

at all. See Metro. Opera Ass’n, Inc., 239 F.3d at 172–79 (vacating injunction that

“risks contempt sanctions for speech that may ultimately, after full appellate review,

be found constitutionally protected”). Mr. Musk should not have to “[h]old [his]

tongue” and refrain from making truthful statements to avoid the risk of unending

“litigati[on] with the SEC.” Moraes, 2022 WL 15774011, at *2 (quoting Novinger,

40 F.4th at 308 (Jones, J., concurring)).

      B.     The SEC Does Not Refute That The Purpose Of The Pre-Approval
             Provision Has Been Achieved
      Nor has the SEC rebutted Mr. Musk’s argument (at 52–53) that the purpose

of the pre-approval provision has been achieved. While the SEC relies (at 32) on

the need for pre-publication review, it neglects to show why it requires a prior

restraint in a consent decree when Tesla has procedures in place that govern the

oversight of executive communications and apply to Mr. Musk, see Br. 52. The only

justification that the SEC provides for why the purpose of the pre-approval provision

has not been achieved is that the SEC wants to be the one to enforce Mr. Musk’s

compliance with those procedures “rather than relying on Tesla to enforce them

against its CEO and a significant shareholder.” Opp. 32. Not only does this

argument underscore that the pre-approval is an impermissible prior restraint, but


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the purpose of the consent decree was to resolve the litigation brought by the SEC

in 2018 and to prevent securities law violations, not to give the SEC or anyone else

a veto on Mr. Musk’s speech.

      Beyond that, the question is not—as the SEC posits (at 32)—whether there

has been the “mere passage of time and temporary compliance,” but rather whether

any lawful purpose would be served by the using the powers of the courts to police

Mr. Musk’s constitutionally protected future speech. The SEC cannot show the

infringement on Mr. Musk’s First Amendment rights continues to serve any lawful

purpose in light of the SEC’s investigatory authority, the injunction entered

prohibiting Mr. Musk from violating Section 10(b), and Tesla’s procedures on

executive communications. Br. 52–53.9

      C.     The SEC Disregards           The    Public    Interest   In    Avoiding
             Constitutional Harms
      The SEC also lacks any persuasive argument that consent decree’s

unconstitutional prior restraint serves the public interest, which provides a separate

basis for modification.




9
   While the SEC attempts (at 33) to distinguish the cases on which Mr. Musk relied
as involving different facts, the SEC does not provide any reason why the same legal
principle would not apply. And, even as to the specific facts, the SEC’s argument
(at 33) that the consent decree “implements a procedure” merely refers to Tesla’s
communications procedure, and fails to justify the need for continuing SEC and
judicial oversight.

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       As an initial matter, the SEC errs in suggesting (at 31) that Mr. Musk failed

to raise his public interest argument below.      Mr. Musk explicitly raised this

argument, referring to his status as a public figure whose speech people want to hear

and with whom they want to engage. Musk Mem., ECF 71 at 22 n.5 (citing article

by Time Magazine naming Mr. Musk “Person of the Year” and quoting a source

that, “He’s probably the most viral social influencer ever.”). As Mr. Musk argued,

“[g]overnment attempts to shut down individuals’ speech are always wrong, but

attempts to limit the speech of public figures such as Mr. Musk are also undoubtedly

detrimental to the public interest.” Id. (citing Rufo, 502 U.S. 367, 383 n.7 (1992))

(emphasis added).

       On the merits, contrary to the SEC’s contention (at 31), changed

circumstances are not “a predicate for granting a Rule 60(b)(5) motion.” While “[i]t

is appropriate to grant a Rule 60(b)(5) motion when the party seeking relief can show

a significant change [] in [] law,” “modification . . . is also appropriate when its

enforcement without modification would be detrimental to the public interest.”

Playtex Prod., Inc. v. Procter & Gamble Co., No. 02 CIV.8046(WHP), 2008 WL

399295, at *5 (S.D.N.Y. Feb. 11, 2008) (emphasis added) (internal quotations and

citations omitted). Therefore, changed circumstances are not a necessary precursor

to modification—they are a separate and independent justification from public

interest.


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      As recently explained by Judge Abrams for the Southern District of New

York, the SEC’s imposition of prior restraints are uniquely contrary to the public

interest. While gag orders “might be defensible if all that were involved was a

private dispute between private parties, here the [gag order] is used by an agency of

the federal government to shield itself from the public view.” Moraes, 2022 WL

15774011, at *4 (internal quotations omitted). While in the Moraes case the gag

order “creat[ed] the impression that the Commission sanctioned [the defendant]

without basis,” id., here the SEC understands the pre-approval provision as license

to ceaselessly investigate Mr. Musk without court supervision and out of the public

view. Shielding the public and the judiciary is simply not in the public interest.

      The SEC neglects to address these concerns, instead only stating (at 48) that

the “consent judgment does nothing to prevent the publication of facts which the

community has a right to know” because Mr. Musk can tweet—as long as he

complies with the consent’s gatekeeping. But such an argument requires as a

necessary predicate that the SEC refute the fact that the pre-approval provision is an

unconstitutional prior restraint—which it has not done.

      “Courts are called upon to turn a blind eye to First Amendment rights being

used as a bargaining chip; to endorse consent decrees, giving No-Admit-No-Deny

Provisions the imprimatur of judicial sanction; and to enforce them should

defendants ever step out of line. This is troubling indeed.” Moraes, 2022 WL


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15774011, at *1. This Court should uphold the public’s interest in vindicating

constitutional rights, and excise the pre-approval provision from the consent decree.

                                 CONCLUSION
      This Court should vacate the district court’s order, hold that the pre-approval

provision contained in the amended judgment is an impermissible and unenforceable

violation of the First Amendment, and remand with instructions to strike the pre-

approval provision from the judgment and amended judgment.




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DATED: January 12, 2023               Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      In accordance with Federal Rules of Appellate Procedure 32(a)(5) and

32(g)(1) and Local Rule 32.1(a)(4), I certify that the foregoing brief is

proportionately spaced using 14-point Times New Roman font and contains 6,808

words, excluding the parts exempted from length limits by Federal Rule 32(f).



      DATED: January 12, 2023



                                            /s/ Alex Spiro
                                            Alex Spiro
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on January 12, 2023, I electronically filed the foregoing

response with the Clerk of the Court for the U.S. Court of Appeals for the Second

Circuit by using the appellate CM/ECF system. I further certify that all participants

in the case are registered CM/ECF users and will be served by the appellate CM/ECF

system.



                                             /s/ Alex Spiro
                                             Alex Spiro
